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                            United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION



    UNITED STATES OF AMERICA                      §
                                                  §
    v.                                            §    CASE NO. 4:15CR105- ALM -CAN
                                                  §
    SALVADOR DELRIO-ESPINOZA (4)                  §
                                                  §


           ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND FINDING
            DEFENDANT GUILTY ON COUNT ONE OF THE INFORMATION

         On this date, the Court considered the Findings of Fact and Recommendation of United

    States Magistrate Judge Christine A. Nowak regarding Defendant’s plea of guilty to Count One

    of the Information in the above-numbered cause. Having conducted a proceeding in the form

    and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court

    accept the guilty plea of the Defendant. The Court is of the opinion that the Findings of Fact

    and Recommendation should be accepted.

           It is accordingly ORDERED that the Findings of Fact and Recommendation of the

    United States Magistrate Judge are hereby ADOPTED.

.          It is further ORDERED that Defendant’s guilty plea and the plea agreement are

    ACCEPTED by the Court.

           It is finally ORDERED that the Court finds Defendant guilty on Count One of the

    Information.

           SIGNED this 6th day of November, 2015.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
